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                    IN THE UNITED STATES DISTRICT COURT
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                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                               Case No. 18-CR-0700-RGK
        UNITED STATES OF AMERICA,
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                           Plaintiff,
14                                               ORDER OF DETENTION AFTER
                      v.                         HEARING (Fed.R.Crim.P. 32.1(a)(6)
15                                               Allegations of Violations of
        JAVON PIERRE SHELBY,                     Probation/Supervised Release
16                                               Conditions)
                           Defendant.
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              On arrest warrant issued by a United States District Court involving alleged
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        violations of conditions of probation or Supervised Release,
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              The Court finds no condition or combination of conditions that will
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        reasonably assure:
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              ~      the appearance of defendant as required; and/or
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              ❑      the safety of any person or the community.
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         Case 2:18-cr-00700-RGK Document 248 Filed 10/25/21 Page 2 of 2 Page ID #:3286



  I           The Court concludes:
              ~ Defendant poses a risk of nonappearance, and the Court finds that
 3            defendant has not demonstrated by clear and convincing evidence that
 4 '          he/she does not pose such a risk. The risk of nonappearance is based on:
 5            instant allegations
 6            ❑ Defendant poses a danger to the community, and the Court finds that
 7            defendant has not demonstrated by clear and convincing evidence that he
 8 1          does not pose such a risk. The risk of danger is based on:
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10 '~         IT IS THEREFORE ORDERED that the defendant be detained.
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         Dated: 10/25/2021
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                                             HON. ROZELLA A. OLIVER
14 I',                                       iJNITED STATES MAGISTRATE JUDGE
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